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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 21-cr-20442-HUCK

  UNITED STATES OF AMERICA             )
                                       )
  v.                                   )
                                       )
  JORGE LUIS NOBREGA RODRIGUEZ, )
                                       )
        Defendant.                     )
  _____________________________________)

        UNITED STATES OF AMERICA’S RESPONSE IN OPPOSITION TO
  DEFENDANT’S OBJECTIONS TO THE PRESENTENCE INVESTIGATION REPORT

         The United States hereby files this response in opposition to Defendant Jorge Luis Nobrega

  Rodriguez’s Objections to the Presentence Investigation Report.

     I. Background

         On April 28, 2022, the United States Probation Office issued a draft Presentence

  Investigation Report (“PSI Report) in which the Probation Office calculated the defendant’s

  sentencing guideline range as 57-60 months imprisonment. [DE 37.] This calculation included a

  three-level reduction in offense levels based on the defendant’s acceptance of responsibility

  pursuant to United States Sentencing Guidelines (“U.S.S.G.”) Section 3E1.1 and Section 5G1.1(c)

  as the crime of conviction had a statutory maximum sentence of 60 months imprisonment. [Id. at

  ¶¶ 73, 74, and 130.] On May 12, 2022, the defendant filed an objection to the PSI Report to reduce

  the Total Offense Level and sentencing guideline range pursuant to United States v. Rodriguez, 64

  F.3d 638 (11th Cir. 1995) and U.S.S.G. §§ 5G1.1 and 5K2.0. [DE 40.] On May 13, 2022, the

  Probation Office issued a revised draft PSI Report with an addendum. [DE 41-1.] In the

  addendum, the Probation Office distinguished Rodriguez due to the fact that the sentencing

  guideline range in this current case was not “well beyond” the statutory maximum term of

  imprisonment as it was in Rodriguez. [Id. at 3.] In addition, the Probation Office noted that the


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  low end of the defendant’s sentencing guideline range was below the statutory maximum sentence

  by three months. [Id.]

     II. United States’ Response to the Objection

         The United States opposes the defendant’s objection to the PSI Report and requests that

  the Court overrule the objection. The United States opposes the motion for several reasons. First,

  the defendant, as part of the plea negotiations, was allowed to plead guilty to Count 1 of the

  Indictment which had a statutory maximum term of imprisonment of 60 months as opposed to

  Counts 2 through 7 of the Indictment each of which carries a statutory maximum term of

  imprisonment of 240 months imprisonment. As such, the defendant already received a benefit of

  having his sentencing guideline range capped at 60 months pursuant to U.S.S.G. § 5G1.1(c) instead

  of having the high-end of his guidelines range be 71 months. Second, as the Probation Office

  noted in the addendum to the revised PSI Report, the defendant’s sentencing guideline range

  straddled the statutory maximum term of imprisonment and was not “well beyond “the statutory

  maximum term of imprisonment as in Rodriguez. [DE 41-1, at 3.] Third, as the Probation Office

  noted in the addendum to the revised PSI Report, the defendant did receive a benefit from the

  acceptance of responsibility reduction in offense levels pursuant to U.S.S.G. § 3E1.1, in that the

  low-end of his sentencing guideline range is three months below the statutory maximum term of

  imprisonment, thus the reduction is not “ineffectual” in this case, as it was in Rodriguez. [Id.];

  Rodriguez, 64 F.3d at 643.

         Finally, as the defendant’s crime of conviction is a serious offense, the Court should use

  its discretion and not further reward the defendant’s acceptance of responsibility when he has

  already benefited from his plea agreement and the acceptance of responsibility reduction in

  calculating his sentencing guideline range. On March 8, 2015, the President of the United States

  declared a national emergency, via Executive Order (“EO”) 13692, in order to deal with the threat


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  by the Government of Venezuela to the national security and foreign policy of the United States.

  80 Fed. Reg. 12747 (March 8, 2015).The national emergency was declared, in part, because the

  “Government of Venezuela’s erosion of human rights guarantees, persecution of political

  opponents, curtailment of press freedoms, use of violence and human rights violations and abuses

  in response to antigovernment protests, and arbitrary arrest and detention of antigovernment

  protestors, as well as the exacerbating presence of significant public corruption, constitutes an

  unusual and extraordinary threat to the national security and foreign policy of the United States.”

  Id. To implement the national emergency with respect to Venezuela, the U.S. Department of the

  Treasury’s Office of Foreign Assets Control (“OFAC”) issued the Venezuela Sanctions

  Regulations (“VSR”). See 31 CFR part 591. The VSR generally prohibit transactions involving

  any property or interest in property blocked pursuant to EO 13692 or any of its successor EOs,

  unless OFAC has granted a license under the VSR. See 31 C.F.R. §§ 591.101, 591.201-591.202.

  Since 2019, the President has continued the national emergency with respect to Venezuela and the

  prior EOs. Among other things, these EOs block the property and interests in property of the

  Government of Venezuela as well as that of certain individuals designated by the Secretary of the

  Treasury, Specially Designated Nationals or “SDNs.”. On January 28, 2019, OFAC designated

  Venezuela’s state-owned oil company, Petróleos de Venezuela, S.A. (“PDVSA”) an SDN pursuant

  to EO 13850.

         Despite the designation of PDVSA as a SDN by OFAC, the defendant continued to receive

  money from PDVSA for past services rendered without seeking a license to legally do so from

  OFAC. In addition, to encourage PDVSA to pay him and his company the defendant serviced

  Venezuelan military aircraft despite the actions of the Government of Venezuela as outlined in EO

  13692 by the President of the United States. These actions could have, unbeknownst to the

  defendant, assisted Venezuelan President Nicolas Maduro in staying in power in Venezuela. See


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  Dr Nan Tian and Dr Diego Lopes da Silva, The crucial role of the military in the Venezuelan crisis,

  Stockholm       International     Peace      Research         Institute   (Apr.      2,     2019),

  https://www.sipri.org/commentary/topical-backgrounder/2019/crucial-role-military-venezuelan-

  crisis (last visited May 18, 2022). As such, the Court should use its discretion to not apply an

  added acceptance of responsibility reduction as outlined in Rodriguez.

     III. Conclusion

         Therefore, for the reasons stated above, the United States respectfully requests tha the

  Court overrule the defendant’s objection to the PSI Report.



                                               Respectfully submitted,

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